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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                           CRIM. NO. 21-164 (NEB/BRT)


UNITED STATES OF AMERICA,
                                                   MEMORANDUM IN
                    Plaintiff,                     SUPPORT OF
                                                   MOTION TO SUPPRESS
v.                                                 EVIDENCE OBTAINED
                                                   IN VIOLATION OF THE
SAMSON DIAMONTE XAVIOR SMITH,                      FOURTH AMENDMENT

                    Defendant.


     Defendant Samson Diamonte Xavior Smith has filed a motion asking the

Court to suppress evidence obtained in reliance on three searches. (See ECF 21.)

First, Mr. Smith asks the Court to suppress evidence obtained in reliance on a

search warrant at an apartment on Magnolia Avenue in St. Paul. Second, Mr.

Smith asks the Court to suppress the buccal swab and subsequent DNA testing

and comparison that was poisonous fruit of the illegal search of the apartment.

Finally, if the Court does not suppress the DNA comparison as poisonous fruit,

Mr. Smith argues in the alternative that it should be suppressed as an unlawful

warrantless search.

     Mr. Smith, in support of his suppression motion, now offers the following:
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                                    ARGUMENT

   I.     THE AFFIDAVIT FAILS TO ESTABLISH PROPER NEXUS TO THE MAGNOLIA
          AVENUE APARTMENT, AND GIVEN THE EGREGIOUS DEFICIENCIES OF THE
          AFFIDAVIT, THE SEARCH CANNOT BE SAVED BY GOOD FAITH.


   The express purpose of the Fourth Amendment is to secure the “houses,

papers, and effects of this nation’s citizens from governmental intrusion.” U.S.

Const. amend. IV. Its protective force is strongest at the private home’s doorstep.

Kyllo v. United States, 533 U.S. 27, 31 (2001). Any police officer seeking to invade a

private home must first obtain a valid search warrant upon showing probable

cause to the satisfaction of a neutral magistrate. See Groh v. Ramirez, 540 U.S. 551,

559-60 (2004). “When a magistrate relies solely on an affidavit to issue the

warrant, only that information which is found within the four corners of the

affidavit may be considered in determining the existence of probable cause.”

United States v. Farlee, 757 F.3d 810, 819 (8th Cir. 2014) (citation and internal

punctuation omitted).

   Probable cause requires a “fair probability that contraband or evidence of a

crime will be found in a particular place given the circumstances set forth in the

affidavit.” United States v. Tellez, 217 F.3d 547, 549 (8th Cir. 2000). But suspicion

that a person has engaged in criminal activity does not automatically give rise to

suspicion regarding that person’s residence: “The critical element in a reasonable




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search is not that the owner of the property is suspected of crime but that there is

reasonable cause to believe that the specific ‘things’ to be searched for and seized

are located on the property to which entry is sought.” Zurcher v. Stanford Daily,

436 U.S. 547, 556 (1978).

   According to the affidavit here, the contraband the officers sought inside the

Magnolia Avenue apartment was a black and grey Glock that Mr. Samson

allegedly possessed. But the affidavit failed to establish any reasonable basis to

believe this allegation, because it failed to establish any source for the alleged

information regarding a firearm or any reason why it should be deemed credible.

   The affidavit alleged that officers had been attempting to locate Mr. Smith to

execute an “Offender Release Violation/Body Only/Felony” warrant during

December 2019. Using various investigative techniques, they came to believe that

Mr. Smith was living in apartment #2 in a building on Magnolia Avenue in St.

Paul. Then, on January 1, 2020, officers were dispatched to the apartment

building “in response to a weapons complaint.” As recounted by the affiant

officer:

       Information provided to dispatch revealed that a male subject
       identified as SMITH was seen in possession of a black firearm,
       possibly a Glock. The firearm was described as having a black
       bottom and a gray top. Further information indicated that SMITH
       was seen running back inside 1519 Magnolia Ave with the firearm.
       SMITH was described as wearing a black sweater with gray


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      sweatpants and standing approximately 5'8 inches tall with a thin
      build.

(Id. at 3.) This was the only information the affidavit gave related to the firearm

or the source of that information.

   This bare-bones affidavit fails to establish probable cause to believe that a

firearm would be found in the specified apartment. The affidavit gives no

information identifying the source of the “information provided to dispatch,”

nor any information that could reasonably imply that the officers knew the

identity of the source of information. The affidavit provides no information

regarding when the anonymously-sourced information was provided or when

Mr. Smith was allegedly in possession of a firearm. The affidavit says that the

“male subject” was “identified as SMITH,” but it doesn’t say who identified the

subject as Mr. Smith, when he was identified, or whether it was even the same

source of information who alleged that Mr. Smith had a firearm.

   What makes this affidavit especially egregious is how the information

provided in this affidavit fails even to meet the standard for establishing

reasonable suspicion, let alone probable cause. See Florida v. J. L., 529 U.S. 266

(2000). In J.L., an anonymous caller told police “that a young black male standing

at a particular bus stop and wearing a plaid shirt was carrying a gun[.]” Id. at

268. Based solely on that tip, officers found a Black teenager in a plaid shirt at the


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specified bus stop, frisked him, and found a gun. See id. Florida attempted to

argue that the officers suitably corroborated the tip, because they found the

person the caller identified where he was predicted to be. The Supreme Court

rejected this argument, emphasizing that “[t]he reasonable suspicion here at

issue requires that a tip be reliable in its assertion of illegality, not just in its

tendency to identify a determinate person.” Id. at 272.

   Here, the information merely said that Mr. Smith was in an apartment

building (the tip did not identify an apartment number) where police already

believed he was living. The tip had no other predictive power. Officers went to

the building and found Mr. Smith. They did not see a gun on Mr. Smith’s person,

nor did they see one when they entered and swept the apartment. (See Govt Ex. 1

at 3 (noting that after Mr. Smith was arrested, “[a] security sweep of the

apartment was conducted”).)

   Evidence obtained in violation of a citizen’s Fourth Amendment rights is

generally subject to suppression as a deterrent to future illegal governmental

conduct. See, e.g., United States v. Calandra, 414 U.S. 338, 348 (1974). But

suppression is not required when an officer violates a defendant’s Fourth

Amendment rights in objectively reasonable reliance on a warrant reviewed and

approved by a neutral magistrate. See United States v. Leon, 468 U.S. 897, 922



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(1984). Leon identified four situations where suppression would still be necessary

because an officer’s reliance on a warrant would not qualify as objectively

reasonable:

       (1) when the affidavit or testimony in support of the warrant
           included a false statement made knowingly and intentionally or
           with reckless disregard for its truth, thus misleading the issuing
           judge; (2) when the judge “wholly abandoned his judicial role” in
           issuing the warrant; (3) when the affidavit in support of the
           warrant was “so lacking in indicia of probable cause as to render
           official belief in its existence entirely unreasonable”; and (4)
           when the warrant is “so facially deficient” that the executing
           officer could not reasonably presume the warrant to be valid.

United States v. Grant, 490 F.3d 627, 632–33 (8th Cir. 2007) (quoting Leon, 468 U.S

at 923).

   The warrant here is not entitled to the general presumption of good faith

because the lack of any information regarding the source of information was so

apparent that it would have been obvious to any reasonable officer. Where

“affidavits simply do not say very much about [the defendant] or his residence,”

officers cannot reasonably rely on the issuing judge’s probable cause

determination. United States v. Herron, 215 F.3d 812, 814 (8th Cir. 2000). In Herron,

a search warrant was issued for Mr. Herron’s residence, following his alleged

involvement in a relative’s marijuana growing operation. While the supporting

affidavits included his prior marijuana convictions and his family relationship to



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the marijuana growers, “the affidavits [made] only two passing references to the

Herron residence” and only three references to Mr. Herron. Id. at 815. In

determining that suppression was warranted despite the good faith exception,

the Eighth Circuit ruled that “the lack of probable cause in the affidavits would

have been apparent to reasonable officers.” Id. The failure to establish even

reasonable suspicion under J.L. made the lack of probable cause in this case so

obvious that any reasonable officer could plainly see it on the face of the warrant.

   On similar facts to those found here, Judge Frank found that the good-faith

exception could not save a search warrant affidavit that failed to include any

“critical information” regarding “the age of the information, the source of the

information, and the credibility and veracity of that information.” See Order and

Memorandum at 4, United States v. Nelson, Crim. No. 04-465(1) (DWF/JSM).

Without this, “there was no manner in which the issuing judge could test the

veracity and basis of knowledge of” the investigation. See id. at 5. And because

the affidavit was “so lacking on the issue of probable cause as to render official

belief in its existence entirely unreasonable on the record,” Judge Frank ordered

the evidence obtained in reliance on that warrant suppressed. Id. at 7–8. “To

conclude otherwise would sanction the preparation and use of such deficient

affidavits.” Id. at 8.



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   The warrant affidavit here clearly failed to establish any source of information

who could provide nexus to the apartment to justify a search. The information

presented was not even enough to support reasonable suspicion. Under these

circumstances, the good-faith exception cannot save the unlawful search. Mr.

Smith respectfully asks the Court to suppress all evidence recovered, directly

and indirectly, from the illegal search of the apartment.

   II.    THE POISONOUS FRUIT OF THE ILLEGAL SEARCH MUST BE SUPPRESSED.

   Without the evidence uncovered during the illegal search of the apartment,

there would have been no warrant to obtain a DNA swab from Mr. Smith.

Because that DNA swab and the subsequent DNA profiling and comparison

were fruit of the original illegality, they are also subject to suppression.

   The exclusionary rule demands suppression of not just the evidence obtained

directly from an illegal search, but also ““evidence later discovered and found to

be derivative of an illegality or ‘fruit of the poisonous tree.’” Segura v. United

States, 468 U.S. 796, 804 (1984) (citation omitted). Suppression “’extends as well to

the indirect as the direct products’ of unconstitutional conduct.” Id. (quoting

Wong Sun v. United States, 371 U.S. 471, 484 (1963)). All tangible or testimonial

evidence obtained as a result of an illegal search must be suppressed, “up to the

point at which the connection with the unlawful search becomes ‘so attenuated



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as to dissipate the taint[.]’” Murray v. United States, 487 U.S. 533, 537 (1988)

(quoting Nardone v. United States, 308 U.S. 338, 341 (1939)).

   Here, Tina Kill of the St. Paul Police Department obtained a warrant for a

buccal swab. (See Govt Ex. 2; Mtns Hrg T. 21–22.) The only purpose of that

warrant was to take Mr. Smith’s DNA so that it could be tested and compared to

the contraband found in the Magnolia Avenue apartment. As Sgt. Moore

testified, without the items found during the search of the apartment, there

would have been no need to obtain Mr. Smith’s DNA because there would have

been nothing to compare it to. (See Mtns Hrg T. 21–22.)

   This case involves neither inevitable discovery nor an independent source.

For the independent-source doctrine to apply, the government would have to

show “both (1) that the decision to seek the warrant was independent of the

unlawful entry—i.e., that police would have sought the warrant even if the initial

entry had not occurred—and (2) that the information obtained through the

unlawful entry did not affect the magistrate’s decision to issue the warrant.”

United States v. Khabeer, 410 F.3d 477, 483 (8th Cir. 2005) (citing Murray, 487 U.S.

at 542). Because both common sense and Sgt. Moore’s testimony tell us that the

police would not have sought the warrant for Mr. Smith’s DNA without the




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contraband obtained during the illegal search of the apartment, this doctrine

does not apply.

   Likewise, inevitable discovery would require the government to make two

showings, one of which being “that the government was actively pursuing a

substantial, alternative line of investigation at the time of the constitutional

violation.” United States v. Madrid, 152 F.3d 1034, 1038 (8th Cir. 1998) (citations

omitted). Here, there was no other active line of investigation that would have

led inevitably to the taking of Mr. Smith’s DNA, so this doctrine does not apply.

   The illegal search of the Magnolia Avenue apartment led directly to the DNA

swab and its comparison to the DNA recovered from the firearm Mr. Smith

allegedly possessed in June 2021. Because this is all fruit of the poisonous tree,

Mr. Smith respectfully asks the Court to order it suppressed in its entirety.

   III.     IN THE ALTERNATIVE, THE DNA COMPARISON DOCUMENTED IN
            GOVERNMENT’S EXHIBIT 6 WAS AN UNLAWFUL WARRANTLESS SEARCH.

   If the Court should rule that the DNA comparison conducted on the firearm

recovered in June is not subject to suppression as fruit of the illegal search in

January, Mr. Smith asks the Court in the alternative to order the suppression of

the comparison as an unlawful warrantless search.

   The government has presented evidence showing that, when Mr. Smith’s

DNA was taken in reliance on the search warrant prepared by Off. Kill, the BCA


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used that sample to prepare a profile. (See Govt Ex. 2; Mtns Hrg T. 27–28.) That

warrant explained that probable cause existed to obtain a sample of Mr. Smith’s

DNA in order to compare it against samples taken from contraband found in the

Magnolia Avenue apartment.

   When it comes to blood tests, the Eighth Circuit has interpreted Supreme

Court precedent to mean that “the taking and later analysis of the blood are a

single event for Fourth Amendment purposes . . . and that a search is completed

upon the drawing of the blood.” Dodd v. Jones, 623 F.3d 563 (8th Cir. 2010)

(cleaned up) (quoting decisions from the Ninth and D.C. Circuits interpreting

Schmerber v. California, 384 U.S. 757 (1966)). But blood testing as understood by

Schmerber in 1966 is not the same as a DNA test and comparison in 2021, and

many of the concerns outlined in Schmerber itself show why a neutral magistrate

should stand between law enforcement and the search that occurred here.

   Schmerber involved alcohol testing of blood following a suspected DWI. The

Court ruled that the blood-draw was a Fourth Amendment search, but that the

search was justified on the facts of that case because of exigent circumstances. See

384 U.S. at 770–71 (“Search warrants are ordinarily required for searches of

dwellings, and, absent an emergency, no less could be required where intrusions

into the human body are concerned.”).



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   But Schmerber emphasized the limits of its holding. The decision concluded

with a warning: “That we today hold that the Constitution does not forbid the

States minor intrusions into an individual’s body under stringently limited

conditions in no way indicates that it permits more substantial intrusions, or

intrusions under other conditions.” Id. at 772.

   Testing blood for alcohol is in no way comparable to a DNA analysis. The

degree of information potentially exposed, and the sensitivity of that

information, requires greater caution. In much the same way that the standard

search-incident-to-arrest doctrine had to bend to acknowledge the implications

of new technology, see Riley v. California, 573 U.S. 373 (2014) (requiring a warrant

to search cell phones recovered incident to arrest), the interpretation of Schmerber

found in Dodd should not be read in such a way as to ignore the implications of

DNA profiling.

   Our DNA holds “vast quantities of personal information.” Riley, 573 U.S. at

386. They can reveal the presence of or propensity toward certain diseases or

details of the person’s ancestry stretching back millenia. See, e.g., Devika Bansal,

What Can You Find Out from Your Own Genome? Mar. 9, 2017, available at

https://scopeblog.stanford.edu/2017/03/09/what-can-you-learn-from-your-

own-genome-science-writer-carl-zimmer-found-out/ (last visited Oct. 22, 2021)



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(documenting how, for $1000, a science writer obtained a copy of his full

genome, showing among other things that 2% of his genes came from

Neanderthals).

   Mr. Smith concedes, as he must, that no precedent stands clearly for the

proposition that the government was required to obtain a warrant before

comparing Mr. Smith’s profile against recovered samples. But, because of the

sensitivity of the information potentially exposed, Mr. Smith maintains a warrant

was nonetheless required to engage in further comparisons using the profile

created from Mr. Smith’s DNA, and so the failure to obtain a warrant here makes

the results of the comparison subject to suppression.




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                                  CONCLUSION

   The affidavit for the search warrant on the Magnolia Avenue apartment failed

utterly to identify the source, age, or credibility of information regarding the

alleged firearm, when that firearm was the only basis for searching the

apartment. Any reasonable officer would have understood the facial deficiency

of the affidavit, and so the officer is not entitled to the standard presumption of

good faith. Mr. Smith respectfully asks the Court to order the suppression of all

evidence obtained directly or indirectly as a result of that illegal search, including

the items found in the apartment, as well as the buccal swab and subsequent

profiling and comparisons.

   In the alternative, Mr. Smith respectfully asks the Court to order the

suppression of the BCA’s DNA comparison to the firearm recovered in June

because it was a warrantless search not excused by any warrant exception.



                                       Respectfully submitted,

Dated: October 22, 2021                /s/ Steven J. Wright
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